                 Case 2:22-cv-01494-JJT Document 22-10 Filed 09/13/22 Page 1 of 18


Canter, Jacob

From:                 Rebecca Short <rshort@capitolprocess.com>
Sent:                 Tuesday, September 13, 2022 11:05 AM
To:                   Canter, Jacob; David Felter; OOS
Cc:                   Sheehan, Jessica
Subject:              Re: Crowell & Moring - Same Day Process Service Required


External Email

Jacob,

Regarding the Los Altos address for Dynadot LLC, our server did try there yesterday, but it is a residence and no
one would come to the door at 6:25 PM PST. A woman inside did come to a nearby window and spoke to the server
from there, but was very combative and would not answer the server's questions when he inquired where Dynadot
is or if someone from the company was there. She eventually told the server that she did not know anything and
told him to leave. We can try and get an audience with someone else here but let me know if you have other
instructions or questions.

Thank you,

--
Rebecca Short
Out-of-State Department
Capitol Process Services, Inc.
1827 18th Street, NW
Washington, DC 20009
P:(202)-667-0050
nationwide@capitolprocess.com

#1– Best of Legal Times Hall of Fame

VOTED BEST PROCESS SERVER IN DC METRO AREA 8 YEARS IN A ROW

All emails/service requests are replied to in the order they are received.
On 9/13/2022 11:37 AM, Canter, Jacob wrote:
         Thanks. Yes please follow up.


         Jacob Canter
         Pronouns: he/him/his
         Crowell & Moring LLP
         jcanter@crowell.com
         +1.415.365.7210 direct | +1.415.385.3716 mobile


         From: Rebecca Short <rshort@capitolprocess.com>
         Sent: Tuesday, September 13, 2022 7:48 AM
         To: Canter, Jacob <JCanter@crowell.com>; David Felter <dfelter@capitolprocess.com>; OOS
         <nationwide@capitolprocess.com>
         Cc: Sheehan, Jessica <JSheehan@crowell.com>
         Subject: Re: Crowell & Moring ‐ Same Day Process Service Required
                                                           1
         Case 2:22-cv-01494-JJT Document 22-10 Filed 09/13/22 Page 2 of 18


External Email

Jacob,

Attached are the affidavits of service for the files that were served in Delaware yesterday.

Regarding the remaining services, I have a few updates -

Re: Dynadot LLC at 210 S. Ellsworth Ave. in San Mateo, service was attempted yesterday at 2:10 PM
PST but the server found that this location is a U.S. Post Office location. The server did try speaking
with a clerk there but they would not confirm if the entity rents box 345 there.

Re: Dynadot LLC at 205 E. 3rd Ave., service was attempted at 2:14 PM PST, however this location is
a secured building with no entry allowed unless you have a keycard or call up. Dynadot was listed
on the directory, but the server did not receive an answer when they called up. They will reattempt
this one.

Re: GoDaddy.com LLC at 2155 E. GoDaddy Way - service was attempted at 3:16 PM MST and our
server spoke with personnel in the legal department who advised that they are only authorized to
accept warrants or subpoenas at those locations, so they could not accept service of the documents
yesterday. They also advised the server that all other legal documents for service should be
directed to their registered agent, however that information was not given when the server
inquired. Please let us know how you would like us to proceed with service on these, if at all.

I will also follow up with our agent in the Bay Area regarding the service of Dynadot in Los Altos
once their business day starts.

Thank you,

--
Rebecca Short
Out-of-State Department
Capitol Process Services, Inc.
1827 18th Street, NW
Washington, DC 20009
P:(202)-667-0050
nationwide@capitolprocess.com

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VOTED BEST PROCESS SERVER IN DC METRO AREA 8 YEARS IN A ROW

All emails/service requests are replied to in the order they are received.
On 9/12/2022 3:58 PM, Canter, Jacob wrote:
         Thanks very much, Rebecca. Please also provide the affidavits when you have a chance.
         Appreciate it!


         Jacob Canter
         Pronouns: he/him/his
         Crowell & Moring LLP
         jcanter@crowell.com
         +1.415.365.7210 direct | +1.415.385.3716 mobile

                                                     2
Case 2:22-cv-01494-JJT Document 22-10 Filed 09/13/22 Page 3 of 18


From: Rebecca Short <rshort@capitolprocess.com>
Sent: Monday, September 12, 2022 12:57 PM
To: Canter, Jacob <JCanter@crowell.com>; David Felter <dfelter@capitolprocess.com>;
OOS <nationwide@capitolprocess.com>
Subject: Re: Crowell & Moring ‐ Same Day Process Service Required

External Email

Jacob,

Manifold Finance, Inc. was served at LegalInc. Corporate Services, Inc. today at
12:10 PM.

GoDaddy, Inc. and GoDaddy.com LLC was served at Corporation Service Company at
12:50 PM.

We will keep you posted on the remaining as we hear that those have been served.
Thanks,

--
Rebecca Short
Out-of-State Department
Capitol Process Services, Inc.
1827 18th Street, NW
Washington, DC 20009
P:(202)-667-0050
nationwide@capitolprocess.com

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VOTED BEST PROCESS SERVER IN DC METRO AREA 8 YEARS IN A ROW

All emails/service requests are replied to in the order they are
received.
On 9/12/2022 10:36 AM, Canter, Jacob wrote:
         Hi Rebecca, please use 099155.0000011


         Jacob Canter
         Pronouns: he/him/his
         Crowell & Moring LLP
         jcanter@crowell.com
         +1.415.365.7210 direct | +1.415.385.3716 mobile


         From: Rebecca Short <rshort@capitolprocess.com>
         Sent: Monday, September 12, 2022 7:21 AM
         To: David Felter <dfelter@capitolprocess.com>; Canter, Jacob
         <JCanter@crowell.com>; OOS <nationwide@capitolprocess.com>
         Subject: Re: Crowell & Moring ‐ Same Day Process Service Required

         External Email


                                             3
Case 2:22-cv-01494-JJT Document 22-10 Filed 09/13/22 Page 4 of 18

     Jacob,

     Please provide a client matter number for these requests. Thanks,

     --
     Rebecca Short
     Out-of-State Department
     Capitol Process Services, Inc.
     1827 18th Street, NW
     Washington, DC 20009
     P:(202)-667-0050
     nationwide@capitolprocess.com

     #1– Best of Legal Times Hall of Fame

     VOTED BEST PROCESS SERVER IN DC METRO AREA 8 YEARS IN
     A ROW

     All emails/service requests are replied to in the
     order they are received.
     On 9/12/2022 7:57 AM, David Felter wrote:
              We can accommodate that time line and will apprise
              you at every juncture.

              On Mon, Sep 12, 2022 at 7:53 AM Canter, Jacob
              <JCanter@crowell.com> wrote:
               OK. Please proceed with service and please get the
               affidavits as soon as practicable. Really need them no
               later than tomorrow though— and if that’s the case I
               need immediate notice of when the service is
               completed. Is that possible?

               Sent from my iPhone

               On Sep 12, 2022, at 4:10 AM, David Felter
               <dfelter@capitolprocess.com> wrote:

                External Email

               Service can be done straight away today. We can
               discuss the timing of the affidavits which may take
               a day longer than the service.

               On Sun, Sep 11, 2022 at 11:21 PM Canter, Jacob
               <JCanter@crowell.com<mailto:JCanter@crowell.com>
               > wrote:
               Hello,

               I am a lawyer at Crowell & Moring LLP. We have an
               account with Capitol Process Servers, Inc.

               We need the two attached documents served on the
               below companies at each of the below addresses
               tomorrow (Monday September 12). And we also need
                                         4
Case 2:22-cv-01494-JJT Document 22-10 Filed 09/13/22 Page 5 of 18

            affidavits proving that service was completed
            immediately afterwards. I.e., 8 affidavits proving
            service of the 4 entities.

            GoDaddy, Inc. (Delaware corp.)
            251 Little Falls Drive, Wilmington DE,
            19808<https://urldefense.com/v3/__https://www.goo
            gle.com/maps/search/251*Little*Falls*Drive,*Wilming
            ton*DE,*19808?entry=gmail&source=g__;KysrKysr!!LB
            4zUoiJ9F1unGg!oJB7v7BOa‐
            HSUyiVdQ9SdwCzuzlsco_eJ8urv20ERZMwWQrZOlbeFiy
            ol8YTbmTo2xn0YIId3Q2k_zeTjzDs$>
            2155 E GoDaddy Way, Tempe AZ, 85284

            GoDaddy.com LLC (Delaware corp.)
            251 Little Falls Drive, Wilmington DE,
            19808<https://urldefense.com/v3/__https://www.goo
            gle.com/maps/search/251*Little*Falls*Drive,*Wilming
            ton*DE,*19808?entry=gmail&source=g__;KysrKysr!!LB
            4zUoiJ9F1unGg!oJB7v7BOa‐
            HSUyiVdQ9SdwCzuzlsco_eJ8urv20ERZMwWQrZOlbeFiy
            ol8YTbmTo2xn0YIId3Q2k_zeTjzDs$>
            2155 E GoDaddy Way, Tempe AZ, 85284

            Manifold Finance, Inc. (Delaware corp.)
            651 N. Broad St., Suite 201, Middletown DE,
            19709<https://urldefense.com/v3/__https://www.goo
            gle.com/maps/search/651*N.*Broad*St.,*Suite*201,*
            Middletown*DE,*19709?entry=gmail&source=g__;Kys
            rKysrKys!!LB4zUoiJ9F1unGg!oJB7v7BOa‐
            HSUyiVdQ9SdwCzuzlsco_eJ8urv20ERZMwWQrZOlbeFiy
            ol8YTbmTo2xn0YIId3Q2k_1GYzu5u$>

            Dynadot LLC (California corp.)
            205 E. 3rd Ave., Suite 314, San Mateo, CA
            94401<https://urldefense.com/v3/__https://www.goo
            gle.com/maps/search/205*E.*3rd*Ave.,*Suite*314,*S
            an*Mateo,*CA*94401?entry=gmail&source=g__;KysrK
            ysrKysr!!LB4zUoiJ9F1unGg!oJB7v7BOa‐
            HSUyiVdQ9SdwCzuzlsco_eJ8urv20ERZMwWQrZOlbeFiy
            ol8YTbmTo2xn0YIId3Q2k_7LvjZhS$>
            210 S Ellsworth
            Ave<https://urldefense.com/v3/__https://www.googl
            e.com/maps/search/210*S*Ellsworth*Ave?entry=gmai
            l&source=g__;Kysr!!LB4zUoiJ9F1unGg!oJB7v7BOa‐
            HSUyiVdQ9SdwCzuzlsco_eJ8urv20ERZMwWQrZOlbeFiy
            ol8YTbmTo2xn0YIId3Q2k_0EwQ7uU$>., Unite 345, San
            Mateo, CA 94401
            12670 Viscaino Ct. Los Altos, CA
            94022<https://urldefense.com/v3/__https://www.goo
            gle.com/maps/search/12670*Viscaino*Ct.*Los*Altos,*
            CA*94022?entry=gmail&source=g__;KysrKysr!!LB4zUoi

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Case 2:22-cv-01494-JJT Document 22-10 Filed 09/13/22 Page 6 of 18

            J9F1unGg!oJB7v7BOa‐
            HSUyiVdQ9SdwCzuzlsco_eJ8urv20ERZMwWQrZOlbeFiy
            ol8YTbmTo2xn0YIId3Q2k_95ABgqi$>

            Please confirm receipt of this email and let me know if
            there are any questions. Best,

            Jacob Canter




            Pronouns: he/him/his




            jcanter@crowell.com<mailto:JCanter@crowell.com>


            +1.415.365.7210 direct


             |


            +1.415.385.3716 mobile




            LinkedIn<https://urldefense.com/v3/__https://www.li
            nkedin.com/in/jacob‐canter‐
            6a53b0120/__;!!LB4zUoiJ9F1unGg!oJB7v7BOa‐
            HSUyiVdQ9SdwCzuzlsco_eJ8urv20ERZMwWQrZOlbeFiy
            ol8YTbmTo2xn0YIId3Q2k_1BeINGv$>




            Crowell & Moring LLP


            <https://urldefense.com/v3/__https://www.google.co
            m/maps/search/Embarcadero*Center**A0D*0A**A0D
            *0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0
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            0D*0A**A0D*0A**A0D*0A**A0D*0A*San*Francisco*

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Case 2:22-cv-01494-JJT Document 22-10 Filed 09/13/22 Page 7 of 18

            *A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**
            A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
            0D*0A*,**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
            0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0
            D*0A**A0D*0A*CA**A0D*0A**A0D*0A**A0D*0A**
            A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
            0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0
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            *0A**A0D*0A**A0D*0A**A0D*0A*94111?entry=gma
            il&source=g__;KyslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJS
            slJSslJSsrKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUl
            KyUlKyUlKyUlKyUlKyUlKyUlKyUlKysrJSUrJSUrJSUrJSUrJS
            UrJSUrJSUrJSUrJSUrJSUrJSUrKyUlKyUlKyUlKyUlKyUlKyU
            lKyUlKyUlKyUlKyUlKyUlKyslJSslJSslJSslJSslJSslJSslJSslJSsl
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            UoiJ9F1unGg!oJB7v7BOa‐
            HSUyiVdQ9SdwCzuzlsco_eJ8urv20ERZMwWQrZOlbeFiy
            ol8YTbmTo2xn0YIId3Q2k_99scUqi$><https://urldefens
            e.com/v3/__https://www.google.com/maps/search/E
            mbarcadero*Center**A0D*0A**A0D*0A**A0D*0A**
            A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
            0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A*26th
            *Floor**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D
            *0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0
            A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A
            **A0D*0A**A0D*0A*San*Francisco**A0D*0A**A0D*
            0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0
            A**A0D*0A**A0D*0A**A0D*0A**A0D*0A*,**A0D*0
            A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A
            **A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A*C
            A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A
            **A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**
            A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
            0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0
            D*0A**A0D*0A*94111?entry=gmail&source=g__;KyslJ
            SslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSsrKyUlKyUlK
            yUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlK
            yUlKyUlKyUlKysrJSUrJSUrJSUrJSUrJSUrJSUrJSUrJSUrJSU
            rJSUrJSUrKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUl
            KyUlKyslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJS
            slJSslJSslJSslJSslJSslJSslJSslJSs!!LB4zUoiJ9F1unGg!oJB7v
            7BOa‐
            HSUyiVdQ9SdwCzuzlsco_eJ8urv20ERZMwWQrZOlbeFiy
            ol8YTbmTo2xn0YIId3Q2k_99scUqi$><https://urldefens
            e.com/v3/__https://www.google.com/maps/search/E
            mbarcadero*Center**A0D*0A**A0D*0A**A0D*0A**
            A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
            0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A*26th
            *Floor**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D
            *0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0
            A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A
            **A0D*0A**A0D*0A*San*Francisco**A0D*0A**A0D*

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Case 2:22-cv-01494-JJT Document 22-10 Filed 09/13/22 Page 8 of 18

            0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0
            A**A0D*0A**A0D*0A**A0D*0A**A0D*0A*,**A0D*0
            A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A
            **A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A*C
            A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A
            **A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**
            A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
            0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0
            D*0A**A0D*0A*94111?entry=gmail&source=g__;KyslJ
            SslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSsrKyUlKyUlK
            yUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlK
            yUlKyUlKyUlKysrJSUrJSUrJSUrJSUrJSUrJSUrJSUrJSUrJSU
            rJSUrJSUrKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUl
            KyUlKyslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJS
            slJSslJSslJSslJSslJSslJSslJSslJSs!!LB4zUoiJ9F1unGg!oJB7v
            7BOa‐
            HSUyiVdQ9SdwCzuzlsco_eJ8urv20ERZMwWQrZOlbeFiy
            ol8YTbmTo2xn0YIId3Q2k_99scUqi$>
            <https://urldefense.com/v3/__https://www.google.co
            m/maps/search/Embarcadero*Center**A0D*0A**A0D
            *0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0
            A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A
            **A0D*0A*26th*Floor**A0D*0A**A0D*0A**A0D*0A
            **A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**
            A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
            0D*0A**A0D*0A**A0D*0A**A0D*0A*San*Francisco*
            *A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**
            A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
            0D*0A*,**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
            0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0
            D*0A**A0D*0A*CA**A0D*0A**A0D*0A**A0D*0A**
            A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
            0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0
            D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D
            *0A**A0D*0A**A0D*0A**A0D*0A*94111?entry=gma
            il&source=g__;KyslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJS
            slJSslJSsrKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUl
            KyUlKyUlKyUlKyUlKyUlKyUlKyUlKysrJSUrJSUrJSUrJSUrJS
            UrJSUrJSUrJSUrJSUrJSUrJSUrKyUlKyUlKyUlKyUlKyUlKyU
            lKyUlKyUlKyUlKyUlKyUlKyslJSslJSslJSslJSslJSslJSslJSslJSsl
            JSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSs!!LB4z
            UoiJ9F1unGg!oJB7v7BOa‐
            HSUyiVdQ9SdwCzuzlsco_eJ8urv20ERZMwWQrZOlbeFiy
            ol8YTbmTo2xn0YIId3Q2k_99scUqi$>
            <https://urldefense.com/v3/__https://www.google.co
            m/maps/search/Embarcadero*Center**A0D*0A**A0D
            *0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0
            A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A
            **A0D*0A*26th*Floor**A0D*0A**A0D*0A**A0D*0A
            **A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**
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            0D*0A**A0D*0A**A0D*0A**A0D*0A*San*Francisco*

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Case 2:22-cv-01494-JJT Document 22-10 Filed 09/13/22 Page 9 of 18

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            A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
            0D*0A*,**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
            0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0
            D*0A**A0D*0A*CA**A0D*0A**A0D*0A**A0D*0A**
            A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
            0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0
            D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D
            *0A**A0D*0A**A0D*0A**A0D*0A*94111?entry=gma
            il&source=g__;KyslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJS
            slJSslJSsrKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUl
            KyUlKyUlKyUlKyUlKyUlKyUlKyUlKysrJSUrJSUrJSUrJSUrJS
            UrJSUrJSUrJSUrJSUrJSUrJSUrKyUlKyUlKyUlKyUlKyUlKyU
            lKyUlKyUlKyUlKyUlKyUlKyslJSslJSslJSslJSslJSslJSslJSslJSsl
            JSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSs!!LB4z
            UoiJ9F1unGg!oJB7v7BOa‐
            HSUyiVdQ9SdwCzuzlsco_eJ8urv20ERZMwWQrZOlbeFiy
            ol8YTbmTo2xn0YIId3Q2k_99scUqi$><https://urldefens
            e.com/v3/__https://www.google.com/maps/search/E
            mbarcadero*Center**A0D*0A**A0D*0A**A0D*0A**
            A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
            0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A*26th
            *Floor**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D
            *0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0
            A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A
            **A0D*0A**A0D*0A*San*Francisco**A0D*0A**A0D*
            0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0
            A**A0D*0A**A0D*0A**A0D*0A**A0D*0A*,**A0D*0
            A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A
            **A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A*C
            A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A
            **A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**
            A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
            0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0
            D*0A**A0D*0A*94111?entry=gmail&source=g__;KyslJ
            SslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSsrKyUlKyUlK
            yUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlK
            yUlKyUlKyUlKysrJSUrJSUrJSUrJSUrJSUrJSUrJSUrJSUrJSU
            rJSUrJSUrKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUl
            KyUlKyslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJS
            slJSslJSslJSslJSslJSslJSslJSslJSs!!LB4zUoiJ9F1unGg!oJB7v
            7BOa‐
            HSUyiVdQ9SdwCzuzlsco_eJ8urv20ERZMwWQrZOlbeFiy
            ol8YTbmTo2xn0YIId3Q2k_99scUqi$><https://urldefens
            e.com/v3/__https://www.google.com/maps/search/E
            mbarcadero*Center**A0D*0A**A0D*0A**A0D*0A**
            A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
            0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A*26th
            *Floor**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D
            *0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0
            A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A
            **A0D*0A**A0D*0A*San*Francisco**A0D*0A**A0D*

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             0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0
             A**A0D*0A**A0D*0A**A0D*0A**A0D*0A*,**A0D*0
             A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A
             **A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A*C
             A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A
             **A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0
             D*0A**A0D*0A*94111?entry=gmail&source=g__;KyslJ
             SslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSsrKyUlKyUlK
             yUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlK
             yUlKyUlKyUlKysrJSUrJSUrJSUrJSUrJSUrJSUrJSUrJSUrJSU
             rJSUrJSUrKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUl
             KyUlKyslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJS
             slJSslJSslJSslJSslJSslJSslJSslJSs!!LB4zUoiJ9F1unGg!oJB7v
             7BOa‐
             HSUyiVdQ9SdwCzuzlsco_eJ8urv20ERZMwWQrZOlbeFiy
             ol8YTbmTo2xn0YIId3Q2k_99scUqi$>
             <https://urldefense.com/v3/__https://www.google.co
             m/maps/search/Embarcadero*Center**A0D*0A**A0D
             *0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0
             A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A
             **A0D*0A*26th*Floor**A0D*0A**A0D*0A**A0D*0A
             **A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A**A0D*0A**A0D*0A**A0D*0A*San*Francisco*
             *A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A*,**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0
             D*0A**A0D*0A*CA**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0
             D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D
             *0A**A0D*0A**A0D*0A**A0D*0A*94111?entry=gma
             il&source=g__;KyslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJS
             slJSslJSsrKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUl
             KyUlKyUlKyUlKyUlKyUlKyUlKyUlKysrJSUrJSUrJSUrJSUrJS
             UrJSUrJSUrJSUrJSUrJSUrJSUrKyUlKyUlKyUlKyUlKyUlKyU
             lKyUlKyUlKyUlKyUlKyUlKyslJSslJSslJSslJSslJSslJSslJSslJSsl
             JSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSs!!LB4z
             UoiJ9F1unGg!oJB7v7BOa‐
             HSUyiVdQ9SdwCzuzlsco_eJ8urv20ERZMwWQrZOlbeFiy
             ol8YTbmTo2xn0YIId3Q2k_99scUqi$>
             <https://urldefense.com/v3/__https://www.google.co
             m/maps/search/Embarcadero*Center**A0D*0A**A0D
             *0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0
             A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A
             **A0D*0A*26th*Floor**A0D*0A**A0D*0A**A0D*0A
             **A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A**A0D*0A**A0D*0A**A0D*0A*San*Francisco*

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             *A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A*,**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0
             D*0A**A0D*0A*CA**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0
             D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D
             *0A**A0D*0A**A0D*0A**A0D*0A*94111?entry=gma
             il&source=g__;KyslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJS
             slJSslJSsrKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUl
             KyUlKyUlKyUlKyUlKyUlKyUlKyUlKysrJSUrJSUrJSUrJSUrJS
             UrJSUrJSUrJSUrJSUrJSUrJSUrKyUlKyUlKyUlKyUlKyUlKyU
             lKyUlKyUlKyUlKyUlKyUlKyslJSslJSslJSslJSslJSslJSslJSslJSsl
             JSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSs!!LB4z
             UoiJ9F1unGg!oJB7v7BOa‐
             HSUyiVdQ9SdwCzuzlsco_eJ8urv20ERZMwWQrZOlbeFiy
             ol8YTbmTo2xn0YIId3Q2k_99scUqi$>
             3
             Embarcadero<https://urldefense.com/v3/__https://w
             ww.google.com/maps/search/Embarcadero*Center**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0
             D*0A**A0D*0A**A0D*0A*26th*Floor**A0D*0A**A0
             D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D
             *0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0
             A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A
             *San*Francisco**A0D*0A**A0D*0A**A0D*0A**A0D*
             0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0
             A**A0D*0A**A0D*0A*,**A0D*0A**A0D*0A**A0D*0
             A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A
             **A0D*0A**A0D*0A**A0D*0A*CA**A0D*0A**A0D*0
             A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A
             **A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A*9411
             1?entry=gmail&source=g__;KyslJSslJSslJSslJSslJSslJSslJS
             slJSslJSslJSslJSslJSslJSsrKyUlKyUlKyUlKyUlKyUlKyUlKyUl
             KyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKysrJSUrJ
             SUrJSUrJSUrJSUrJSUrJSUrJSUrJSUrJSUrJSUrKyUlKyUlKy
             UlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyslJSslJSslJSslJS
             slJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJS
             slJSslJSs!!LB4zUoiJ9F1unGg!oJB7v7BOa‐
             HSUyiVdQ9SdwCzuzlsco_eJ8urv20ERZMwWQrZOlbeFiy
             ol8YTbmTo2xn0YIId3Q2k_99scUqi$>
             Center<https://urldefense.com/v3/__https://www.go
             ogle.com/maps/search/Embarcadero*Center**A0D*0
             A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A
             **A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A*26th*Floor**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0

                                           11
Case 2:22-cv-01494-JJT Document 22-10 Filed 09/13/22 Page 12 of 18

             D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A*San*F
             rancisco**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0
             D*0A**A0D*0A*,**A0D*0A**A0D*0A**A0D*0A**A0
             D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D
             *0A**A0D*0A**A0D*0A*CA**A0D*0A**A0D*0A**A0
             D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D
             *0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0
             A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A
             **A0D*0A**A0D*0A**A0D*0A**A0D*0A*94111?entr
             y=gmail&source=g__;KyslJSslJSslJSslJSslJSslJSslJSslJSslJS
             slJSslJSslJSslJSsrKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKy
             UlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKysrJSUrJSUrJSU
             rJSUrJSUrJSUrJSUrJSUrJSUrJSUrJSUrKyUlKyUlKyUlKyUlK
             yUlKyUlKyUlKyUlKyUlKyUlKyUlKyslJSslJSslJSslJSslJSslJSsl
             JSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSs
             !!LB4zUoiJ9F1unGg!oJB7v7BOa‐
             HSUyiVdQ9SdwCzuzlsco_eJ8urv20ERZMwWQrZOlbeFiy
             ol8YTbmTo2xn0YIId3Q2k_99scUqi$>
             <https://urldefense.com/v3/__https://www.google.co
             m/maps/search/Embarcadero*Center**A0D*0A**A0D
             *0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0
             A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A
             **A0D*0A*26th*Floor**A0D*0A**A0D*0A**A0D*0A
             **A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A**A0D*0A**A0D*0A**A0D*0A*San*Francisco*
             *A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A*,**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0
             D*0A**A0D*0A*CA**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0
             D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D
             *0A**A0D*0A**A0D*0A**A0D*0A*94111?entry=gma
             il&source=g__;KyslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJS
             slJSslJSsrKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUl
             KyUlKyUlKyUlKyUlKyUlKyUlKyUlKysrJSUrJSUrJSUrJSUrJS
             UrJSUrJSUrJSUrJSUrJSUrJSUrKyUlKyUlKyUlKyUlKyUlKyU
             lKyUlKyUlKyUlKyUlKyUlKyslJSslJSslJSslJSslJSslJSslJSslJSsl
             JSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSs!!LB4z
             UoiJ9F1unGg!oJB7v7BOa‐
             HSUyiVdQ9SdwCzuzlsco_eJ8urv20ERZMwWQrZOlbeFiy
             ol8YTbmTo2xn0YIId3Q2k_99scUqi$>                <https://urlde
             fense.com/v3/__https://www.google.com/maps/searc
             h/Embarcadero*Center**A0D*0A**A0D*0A**A0D*0A
             **A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A*26t
             h*Floor**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0
             D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D
             *0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0

                                          12
Case 2:22-cv-01494-JJT Document 22-10 Filed 09/13/22 Page 13 of 18

             A**A0D*0A**A0D*0A*San*Francisco**A0D*0A**A0D
             *0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0
             A**A0D*0A**A0D*0A**A0D*0A**A0D*0A*,**A0D*0
             A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A
             **A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A*C
             A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A
             **A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0
             D*0A**A0D*0A*94111?entry=gmail&source=g__;KyslJ
             SslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSsrKyUlKyUlK
             yUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlK
             yUlKyUlKyUlKysrJSUrJSUrJSUrJSUrJSUrJSUrJSUrJSUrJSU
             rJSUrJSUrKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUl
             KyUlKyslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJS
             slJSslJSslJSslJSslJSslJSslJSslJSs!!LB4zUoiJ9F1unGg!oJB7v
             7BOa‐
             HSUyiVdQ9SdwCzuzlsco_eJ8urv20ERZMwWQrZOlbeFiy
             ol8YTbmTo2xn0YIId3Q2k_99scUqi$>
             <https://urldefense.com/v3/__https://www.google.co
             m/maps/search/Embarcadero*Center**A0D*0A**A0D
             *0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0
             A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A
             **A0D*0A*26th*Floor**A0D*0A**A0D*0A**A0D*0A
             **A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A**A0D*0A**A0D*0A**A0D*0A*San*Francisco*
             *A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A*,**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0
             D*0A**A0D*0A*CA**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0
             D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D
             *0A**A0D*0A**A0D*0A**A0D*0A*94111?entry=gma
             il&source=g__;KyslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJS
             slJSslJSsrKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUl
             KyUlKyUlKyUlKyUlKyUlKyUlKyUlKysrJSUrJSUrJSUrJSUrJS
             UrJSUrJSUrJSUrJSUrJSUrJSUrKyUlKyUlKyUlKyUlKyUlKyU
             lKyUlKyUlKyUlKyUlKyUlKyslJSslJSslJSslJSslJSslJSslJSslJSsl
             JSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSs!!LB4z
             UoiJ9F1unGg!oJB7v7BOa‐
             HSUyiVdQ9SdwCzuzlsco_eJ8urv20ERZMwWQrZOlbeFiy
             ol8YTbmTo2xn0YIId3Q2k_99scUqi$>
             <https://urldefense.com/v3/__https://www.google.co
             m/maps/search/Embarcadero*Center**A0D*0A**A0D
             *0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0
             A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A
             **A0D*0A*26th*Floor**A0D*0A**A0D*0A**A0D*0A
             **A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A

                                          13
Case 2:22-cv-01494-JJT Document 22-10 Filed 09/13/22 Page 14 of 18

             0D*0A**A0D*0A**A0D*0A**A0D*0A*San*Francisco*
             *A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A*,**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0
             D*0A**A0D*0A*CA**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0
             D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D
             *0A**A0D*0A**A0D*0A**A0D*0A*94111?entry=gma
             il&source=g__;KyslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJS
             slJSslJSsrKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUl
             KyUlKyUlKyUlKyUlKyUlKyUlKyUlKysrJSUrJSUrJSUrJSUrJS
             UrJSUrJSUrJSUrJSUrJSUrJSUrKyUlKyUlKyUlKyUlKyUlKyU
             lKyUlKyUlKyUlKyUlKyUlKyslJSslJSslJSslJSslJSslJSslJSslJSsl
             JSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSs!!LB4z
             UoiJ9F1unGg!oJB7v7BOa‐
             HSUyiVdQ9SdwCzuzlsco_eJ8urv20ERZMwWQrZOlbeFiy
             ol8YTbmTo2xn0YIId3Q2k_99scUqi$>
             <https://urldefense.com/v3/__https://www.google.co
             m/maps/search/Embarcadero*Center**A0D*0A**A0D
             *0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0
             A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A
             **A0D*0A*26th*Floor**A0D*0A**A0D*0A**A0D*0A
             **A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A**A0D*0A**A0D*0A**A0D*0A*San*Francisco*
             *A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A*,**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0
             D*0A**A0D*0A*CA**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0
             D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D
             *0A**A0D*0A**A0D*0A**A0D*0A*94111?entry=gma
             il&source=g__;KyslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJS
             slJSslJSsrKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUl
             KyUlKyUlKyUlKyUlKyUlKyUlKyUlKysrJSUrJSUrJSUrJSUrJS
             UrJSUrJSUrJSUrJSUrJSUrJSUrKyUlKyUlKyUlKyUlKyUlKyU
             lKyUlKyUlKyUlKyUlKyUlKyslJSslJSslJSslJSslJSslJSslJSslJSsl
             JSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSs!!LB4z
             UoiJ9F1unGg!oJB7v7BOa‐
             HSUyiVdQ9SdwCzuzlsco_eJ8urv20ERZMwWQrZOlbeFiy
             ol8YTbmTo2xn0YIId3Q2k_99scUqi$>                <https://urlde
             fense.com/v3/__https://www.google.com/maps/searc
             h/Embarcadero*Center**A0D*0A**A0D*0A**A0D*0A
             **A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A*26t
             h*Floor**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0
             D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D
             *0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0

                                         14
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             A**A0D*0A**A0D*0A*San*Francisco**A0D*0A**A0D
             *0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0
             A**A0D*0A**A0D*0A**A0D*0A**A0D*0A*,**A0D*0
             A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A
             **A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A*C
             A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A
             **A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0
             D*0A**A0D*0A*94111?entry=gmail&source=g__;KyslJ
             SslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSsrKyUlKyUlK
             yUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlK
             yUlKyUlKyUlKysrJSUrJSUrJSUrJSUrJSUrJSUrJSUrJSUrJSU
             rJSUrJSUrKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUl
             KyUlKyslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJS
             slJSslJSslJSslJSslJSslJSslJSslJSs!!LB4zUoiJ9F1unGg!oJB7v
             7BOa‐
             HSUyiVdQ9SdwCzuzlsco_eJ8urv20ERZMwWQrZOlbeFiy
             ol8YTbmTo2xn0YIId3Q2k_99scUqi$>
             <https://urldefense.com/v3/__https://www.google.co
             m/maps/search/Embarcadero*Center**A0D*0A**A0D
             *0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0
             A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A
             **A0D*0A*26th*Floor**A0D*0A**A0D*0A**A0D*0A
             **A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A**A0D*0A**A0D*0A**A0D*0A*San*Francisco*
             *A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A*,**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0
             D*0A**A0D*0A*CA**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0
             D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D
             *0A**A0D*0A**A0D*0A**A0D*0A*94111?entry=gma
             il&source=g__;KyslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJS
             slJSslJSsrKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUl
             KyUlKyUlKyUlKyUlKyUlKyUlKyUlKysrJSUrJSUrJSUrJSUrJS
             UrJSUrJSUrJSUrJSUrJSUrJSUrKyUlKyUlKyUlKyUlKyUlKyU
             lKyUlKyUlKyUlKyUlKyUlKyslJSslJSslJSslJSslJSslJSslJSslJSsl
             JSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSs!!LB4z
             UoiJ9F1unGg!oJB7v7BOa‐
             HSUyiVdQ9SdwCzuzlsco_eJ8urv20ERZMwWQrZOlbeFiy
             ol8YTbmTo2xn0YIId3Q2k_99scUqi$>
             <https://urldefense.com/v3/__https://www.google.co
             m/maps/search/Embarcadero*Center**A0D*0A**A0D
             *0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0
             A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A
             **A0D*0A*26th*Floor**A0D*0A**A0D*0A**A0D*0A
             **A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A

                                          15
Case 2:22-cv-01494-JJT Document 22-10 Filed 09/13/22 Page 16 of 18

             0D*0A**A0D*0A**A0D*0A**A0D*0A*San*Francisco*
             *A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A*,**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0
             D*0A**A0D*0A*CA**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0
             D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D
             *0A**A0D*0A**A0D*0A**A0D*0A*94111?entry=gma
             il&source=g__;KyslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJS
             slJSslJSsrKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUl
             KyUlKyUlKyUlKyUlKyUlKyUlKyUlKysrJSUrJSUrJSUrJSUrJS
             UrJSUrJSUrJSUrJSUrJSUrJSUrKyUlKyUlKyUlKyUlKyUlKyU
             lKyUlKyUlKyUlKyUlKyUlKyslJSslJSslJSslJSslJSslJSslJSslJSsl
             JSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSs!!LB4z
             UoiJ9F1unGg!oJB7v7BOa‐
             HSUyiVdQ9SdwCzuzlsco_eJ8urv20ERZMwWQrZOlbeFiy
             ol8YTbmTo2xn0YIId3Q2k_99scUqi$><https://urldefens
             e.com/v3/__https://www.google.com/maps/search/E
             mbarcadero*Center**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A*26th
             *Floor**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D
             *0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0
             A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A
             **A0D*0A**A0D*0A*San*Francisco**A0D*0A**A0D*
             0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0
             A**A0D*0A**A0D*0A**A0D*0A**A0D*0A*,**A0D*0
             A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A
             **A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A*C
             A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A
             **A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0
             D*0A**A0D*0A*94111?entry=gmail&source=g__;KyslJ
             SslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSsrKyUlKyUlK
             yUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlK
             yUlKyUlKyUlKysrJSUrJSUrJSUrJSUrJSUrJSUrJSUrJSUrJSU
             rJSUrJSUrKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUl
             KyUlKyslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJS
             slJSslJSslJSslJSslJSslJSslJSslJSs!!LB4zUoiJ9F1unGg!oJB7v
             7BOa‐
             HSUyiVdQ9SdwCzuzlsco_eJ8urv20ERZMwWQrZOlbeFiy
             ol8YTbmTo2xn0YIId3Q2k_99scUqi$><https://urldefens
             e.com/v3/__https://www.google.com/maps/search/E
             mbarcadero*Center**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A*26th
             *Floor**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D
             *0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0
             A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A

                                          16
Case 2:22-cv-01494-JJT Document 22-10 Filed 09/13/22 Page 17 of 18

             **A0D*0A**A0D*0A*San*Francisco**A0D*0A**A0D*
             0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0
             A**A0D*0A**A0D*0A**A0D*0A**A0D*0A*,**A0D*0
             A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A
             **A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A*C
             A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A
             **A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0
             D*0A**A0D*0A*94111?entry=gmail&source=g__;KyslJ
             SslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSsrKyUlKyUlK
             yUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlK
             yUlKyUlKyUlKysrJSUrJSUrJSUrJSUrJSUrJSUrJSUrJSUrJSU
             rJSUrJSUrKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUl
             KyUlKyslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJS
             slJSslJSslJSslJSslJSslJSslJSslJSs!!LB4zUoiJ9F1unGg!oJB7v
             7BOa‐
             HSUyiVdQ9SdwCzuzlsco_eJ8urv20ERZMwWQrZOlbeFiy
             ol8YTbmTo2xn0YIId3Q2k_99scUqi$>
             <https://urldefense.com/v3/__https://www.google.co
             m/maps/search/Embarcadero*Center**A0D*0A**A0D
             *0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0
             A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A
             **A0D*0A*26th*Floor**A0D*0A**A0D*0A**A0D*0A
             **A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A**A0D*0A**A0D*0A**A0D*0A*San*Francisco*
             *A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A*,**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0
             D*0A**A0D*0A*CA**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0
             D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D
             *0A**A0D*0A**A0D*0A**A0D*0A*94111?entry=gma
             il&source=g__;KyslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJS
             slJSslJSsrKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUl
             KyUlKyUlKyUlKyUlKyUlKyUlKyUlKysrJSUrJSUrJSUrJSUrJS
             UrJSUrJSUrJSUrJSUrJSUrJSUrKyUlKyUlKyUlKyUlKyUlKyU
             lKyUlKyUlKyUlKyUlKyUlKyslJSslJSslJSslJSslJSslJSslJSslJSsl
             JSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSs!!LB4z
             UoiJ9F1unGg!oJB7v7BOa‐
             HSUyiVdQ9SdwCzuzlsco_eJ8urv20ERZMwWQrZOlbeFiy
             ol8YTbmTo2xn0YIId3Q2k_99scUqi$>
             <https://urldefense.com/v3/__https://www.google.co
             m/maps/search/Embarcadero*Center**A0D*0A**A0D
             *0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0
             A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A
             **A0D*0A*26th*Floor**A0D*0A**A0D*0A**A0D*0A
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Case 2:22-cv-01494-JJT Document 22-10 Filed 09/13/22 Page 18 of 18

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             0D*0A*,**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
             0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0
             D*0A**A0D*0A*CA**A0D*0A**A0D*0A**A0D*0A**
             A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A
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             D*0A**A0D*0A**A0D*0A**A0D*0A**A0D*0A**A0D
             *0A**A0D*0A**A0D*0A**A0D*0A*94111?entry=gma
             il&source=g__;KyslJSslJSslJSslJSslJSslJSslJSslJSslJSslJSslJS
             slJSslJSsrKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUlKyUl
             KyUlKyUlKyUlKyUlKyUlKyUlKyUlKysrJSUrJSUrJSUrJSUrJS
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             UoiJ9F1unGg!oJB7v7BOa‐
             HSUyiVdQ9SdwCzuzlsco_eJ8urv20ERZMwWQrZOlbeFiy
             ol8YTbmTo2xn0YIId3Q2k_99scUqi$>
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